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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ARTIS C. CARROLL, JR. : CIVIL ACTION
v. : NO. 23-2187
MARY WALK
ORDER

AND NOW, this 31° day of July 2023, upon considering Plaintiff's pro se Motion for
reconsideration (ECF No. 14) of our July 29, 2023 Order dismissing his frivolous Complaint
against a state court staff member (ECF No, 13) for the reasons in our accompanying Memorandum
(ECF No. 12), and finding no basis to reconsider our extensive findings particularly as Plaintiff
now concedes he lacks standing to challenge possible future violations which have not yet

occurred, it is ORDERED Plaintiff's Motion (ECF No. 14) is DENIED.!

1 We dismissed with prejudice Artis Carroll’s pro se Complaint on June 29, 2023 following our
Congressionally mandated screening under section 1915A against the Director of the Office of
Judicial Support of the Delaware County Court of Common Pleas Mary Walk. Mr. Carroll then
asked us to: (1) declare Mr. Carroll petitioning for habeas relief in state court is not considered
hybrid representation when the public defender is also representing him; (2) enjoin Delaware
County’s possible later rejection of Mr. Carroll’s habeas petition; and (3) order Mr. Carroll’s
release from custody. See ECF Nos. 1, 12, 13.

Mr. Carroll now moves under Federal Rule of Civil Procedure 59(e) for reconsideration (violating
our June 29, 2023 Order by wrongly trying to disguise himself as a John Doe) arguing: (1) we
committed a clear error of law by misrepresenting the claims in his Complaint because Director
Walk did not violate his rights but he believes she “would” violate his rights; (2) we failed to
consider Mr. Carroll’s claim for declaratory judgment; (3) we misrepresented the form of relief
requested; (4) we committed a clear error of law by finding Defendant Walk immune; (5) we
committed a clear error of law because Younger abstention is inapplicable; and (6) we misapplied
the three strikes rule. See ECF No. 14.

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A motion for reconsideration may only be granted where the moving party shows: “(1) an
intervening change in the controlling law; (2) the availability of new evidence that was not
available when the court granted the motion for summary judgment; or (3) the need to correct a
clear error of law or fact or to prevent manifest injustice.” Max’s Seafood Café ex rel. Lou-Ann,
Inc. v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999). Such motions are sparingly granted “because
courts have a strong interest in the finality of judgments.” Whirtsitt v. Comcast-Spectacor, L.P., No.
11-7842, 2014 WL 3732131, *8 (E.D. Pa. July 28, 2014) (quoting Douris v. Schweiker, 229 F.
Supp. 2d 391, 408 (E.D. Pa. 2002)).

Mr. Carroll does not show a basis for reconsideration. We fully considered Mr. Carroll’s claims
for injunctive and declaratory relief against Director Walk in our Order and Memorandum
dismissing his Complaint as frivolous. See ECF Nos. 12, 13. We specifically addressed his alleged
future harm. Mr. Carroll offers no intervening change in the law and provides no new evidence.
And he does not demonstrate a need to correct a clear error of law or fact or to prevent manifest
injustice as we relied on his sworn facts.

Given our obligation to construe a pro se litigant’s pleadings liberally, we construed Mr. Carroll
as alleging Director Walk violated his constitutional rights when she ignored his letters related to
the filing of his habeas petition because he asked us to enjoin the “rejection” of his habeas petition.
See ECF No. 1 at 10; see also Dooley v. Wetzel, 957 F.3d 366, 374 (3d Cir. 2020) (quoting Higgs
y, Att’y Gen., 655 F.3d 333, 339 (3d Cir. 2011) and citing Mala v. Crown Bay Marina, Inc., 704
F.3d 239, 244-45 (3d Cir. 2013)) (internal quotations omitted). We dismissed Mr. Carroll’s
Complaint with prejudice finding his Complaint frivolous because: (1) he cannot state a claim
against Director Walk since she is immune from suit; (2) an amendment is futile because Mr.
Carroll’s sole federal remedy for release from custody is a writ of habeas corpus; and (3) Mr.
Carroll’s claims for injunctive and declaratory relief are barred by his ongoing state criminal case.
He cannot seek our interference in his ongoing criminal matters based on the allegations. And a
further amendment remains futile as Mr. Carroll now admits Director Walk did not yet violate his
constitutional rights, but he instead only speculates she “would” violate his rights. Mr. Carroll now
also lacks standing to pursue a new theory against Director Walk for possibly violating his rights.

